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 5
     Attorney for Defendant
 6   LUIS DELGADO
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     )
                                                   )
11                          Plaintiff,             )       No. 2:03-CR-0147 FCD
                                                   )
12                                                 )       STIPULATION AND ORDER
                    v.                             )       CONTINUING STATUS
13                                                 )       CONFERENCE; EXCLUSION OF TIME
                                                   )
14   LUIS DELGADO,                                 )
                                                   )
15                          Defendant.             )
                                                   )
16
            The United States of America, through Assistant U.S. Attorney Kenneth J. Melikian, and
17
     defendant Luis Delgado, through his counsel Scott L. Tedmon, hereby stipulate that the Status
18
     Conference set for Monday, March 31, 2008 at 10:00 a.m., be continued to Monday, April 21, 2008
19
     at 10:00 a.m. before United States District Judge Frank C. Damrell, Jr.
20
            The government has contacted law enforcement and is in the process of gathering the
21
     discovery in this case. As of this date, the government has not yet been able to provide defense
22
     counsel with any discovery. Once the government provides discovery, defense counsel will need
23
     time to review it and prepare the defense.
24
            As such, government and defense counsel stipulate it is appropriate to continue the current
25
     status conference to Monday, April 21, 2008 at 10:00 a.m. Maureen Price has approved the April
26
     21, 2008 hearing date. No jury trial date has been set in this case.
27
            The parties stipulate the Court should find that time be excluded through April 21, 2008
28

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 1   under the Speedy Trial Act based on the needs of counsel to prepare pursuant to 18 U.S.C.
 2   §3161(h)(8)(B)(iv); Local Code T4. The parties stipulate and agree that the interests of justice
 3   served by granting this continuance outweigh the best interests of the public and the defendant in
 4   a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
 5             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
 6   behalf.
 7   IT IS SO STIPULATED.
 8   DATED: March 25, 2008                          McGREGOR W. SCOTT
                                                    United States Attorney
 9
                                                     /s/ Kenneth J. Melikian
10                                                  KENNETH J. MELIKIAN
                                                    Assistant U.S. Attorney
11
     DATED: March 25, 2008                          LAW OFFICES OF SCOTT L. TEDMON
12
                                                     /s/ Scott L. Tedmon
13                                                  SCOTT L. TEDMON
                                                    Attorney for Defendant Luis Delgado
14
15                                                 ORDER
16             GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
17   ORDERED that the Status Conference now scheduled for Monday, March 31, 2008 at 10:00 a.m.,
18   is hereby continued to Monday, April 21, 2008 at 10:00 a.m., before the Honorable Frank C.
19   Damrell, Jr. Based upon the above stipulation, the Court finds that time be excluded under the
20   Speedy Trial Act for need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(iv), Local
21   Code T4, through the Status Conference date of April 21, 2008. The Court finds that the interests
22   of justice served by granting this continuance outweigh the best interests of the public and the
23   defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
24             IT IS SO ORDERED.
25   DATED: March 26, 2008
26
                                               _______________________________________
27                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
28

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